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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF KENTUCKY
                               LEXINGTON DIVISION


 AXIS INSURANCE COMPANY,

                        Plaintiff,

 vs.                                               Case No. 5:20-cv-00225-DCR

 TEMPUR SEALY INTERNATIONAL,
 INC.,

                        Defendant.


                             JOINT NOTICE OF SETTLEMENT

       Plaintiff Axis Insurance Company and Defendant Tempur Sealy International, Inc. (the

“Parties”) recently agreed on material terms that will settle and resolve all claims asserted in this

litigation, but are still in the process of negotiating the full terms of a settlement agreement. To

avoid the expenditure of time and resources on unnecessary litigation while preserving the Parties’

rights, the Parties respectfully request that all deadlines, including Defendant’s deadline to answer

the Complaint, be held in abeyance. The Parties will promptly file a stipulation of dismissal

pursuant to Fed. R. Civ. P. 41(a)(1) after they reach agreement on all terms of the settlement.

Have seen and agreed:
 /s/ Rheanne D. Falkner (with permission)          /s/ Casey L. Hinkle
 Sean Rukavina                                     David S. Kaplan
 Rheanne D. Falkner                                Casey L. Hinkle
 GORDON & REES SCULLY MANSUKHANI, LLP              KAPLAN JOHNSON ABATE & BIRD LLP
 325 W. Main Street                                710 W. Main St., 4th Floor
 Waterfront Plaza Suite 1810                       Louisville, KY 40202
 Louisville, KY 40202                              Phone: (502) 416-1630
 Phone: (502) 371-1255                             dkaplan@kaplanjohnsonlaw.com
 srukavina@grsm.com                                chinkle@kaplanjohnsonlaw.com
 rfalkner@grsm.com                                 Counsel for Defendant
 Counsel for Plaintiff                             Tempur Sealy International, Inc.
 Axis Insurance Company
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                                CERTIFICATE OF SERVICE

       I hereby certify that on June 23, 2020, a true and accurate copy of the foregoing was filed
with the United States District Court for the Eastern District of Kentucky via the Court’s CM/ECF
system, which will send electronic notification of such filing to all counsel of record.

                                             /s/ Casey L. Hinkle
                                             Counsel for Defendant
                                             Tempur Sealy International, Inc.




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